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             IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE DISTRICT OF SOUTH CAROLINA
                         GREENWOOD DIVISION

United States of America,               )
                                        )
                                        )
v.                                      )
                                        )            Cr. No.: 8:19-cr-00181
Jamal Demarcus Latimer,                 )
           Defendant.                   )

      MOTION FOR LEAVE TO FILE TO SEAL THE SENTENCING
                 MEMORANDUM AND MOTION

      COMES NOW Jamal Demarcus Latimer, by and through the undersigned

Counsel, who hereby moves this Court to allow Mr. Latimer to file with the Clerk

of Court under seal the Sentencing Memorandum and Motion for Variance and

related exhibits in this matter to be considered at the Sentencing Hearing.

      This motion is made pursuant to the Standing Order Regarding Sealing

Documents Filed in Criminal Matters, filed October 28, 2014, in 3:14-mc-00333-

TLW. Counsel makes this request to protect both the privacy interests and personal

safety of the individuals involved in this case. The privacy interest and safety of the

individuals involved outweigh the public’s interest in access to this material. This

Court has inherent authority to seal these documents. Baltimore Sun v. Goetz, 886

F.2d 60 (4th Cir. 1988); In re Application of the United States for an Order Pursuant

to 18 U.S.C. Section 2703(D), 707 F.3d 283 (4th Cir. 2013). Based on the important

interests at stake and the Court’s authority in these matters, counsel for the Mr.
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Latimer respectfully requests the Court allow the memorandum, motion, and related

exhibits to be filed by the defense in this matter under seal.

                                               Respectfully Submitted,

                                               S/Stephanie A. Rainey
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      Date: July 20, 2020
